Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 1 of 17 Page ID #:1601
                                                                 Note changes made by the Court
                                                                 at ¶¶ 9, 10, 16, 17, 19, 28, 29.
    1   Robert J. Nelson (State Bar No. 132797)
        rnelson@lchb.com
    2   Nimish R. Desai (State Bar No. 244953)
        ndesai@lchb.com
    3   LIEFF CABRASER HEIMANN &
        BERNSTEIN, LLP
    4   275 Battery Street, 29th Floor
        San Francisco, CA 94111-3339
    5   Telephone: (415) 956-1000
        Facsimile: (415) 956-1008
    6
        Attorneys for Relator
    7
        Rhonda R. Trotter (State Bar No. 169241)
    8   Email address: rhonda.trotter@arnoldporter.com
    9   ARNOLD & PORTER KAYE SCHOLER LLP
        777 South Figueroa Street, 44th Floor
   10   Los Angeles, CA 90017
        Telephone: (213) 243-4000
   11   Facsimile: (213) 243-4199
   12   Attorney for Defendant Allergan, Inc.
   13   [Additional counsel listed on signature page]
   14
                                   UNITED STATES DISTRICT COURT
   15
                                  CENTRAL DISTRICT OF CALIFORNIA
   16
   17
        UNITED STATES ex rel.                          Case No. 8:18-CV-00203-JVS (KESx)
   18   TERRENCE BARRETT, and on
        behalf of various States,                      ORDER RE STIPULATED
   19                                                  PROTECTIVE ORDER FOR
                             Plaintiff,                PRODUCTION BY NON-PARTY
   20                                                  THE CENTERS FOR MEDICARE &
        v.                                             MEDICAID SERVICES (CMS)
   21
        ALLERGAN, INC.,                                Judge:      Hon. James V. Selna
   22
                             Defendant.
   23
   24
   25               The Parties file this Stipulated Protective Order for Production by non-party
   26   CMS (the “Protective Order”) to preserve the confidentiality of Protected Health
   27   Information (PHI) and financial, commercial, and trade secret information that may
   28   be produced in discovery in this action. The Parties agree that a protective order
                                                                         STIPULATED PROTECTIVE ORDER
        2307642.1
                                                                         CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 2 of 17 Page ID #:1602



    1   concerning such information is necessary to protect the confidentiality and integrity
    2   of the information, and to prevent injury (including without limitation financial and
    3   competitive injury) that the Producing Party or the person who is the subject of the
    4   information might incur from public disclosure. The parties have agreed to the
    5   following terms of confidentiality, and the court has found that good cause exists
    6   for issuance of an appropriately-tailored Protective Order governing all phases of
    7   this action. It is therefore ORDERED:
    8       1. Definitions. As used in this Protective Order,
    9               (a) “Commercially Sensitive Information” means information that the
   10                  Producing Party believes would result in competitive, commercial, or
   11                  financial harm, including pricing information, reimbursement rates,
   12                  rebate terms, minimum guarantee payments, sales reports, sales margins,
   13                  and contracts or agreements between pharmaceutical companies and
   14                  pharmacy benefit managers.
   15               (b) “Conclusion” means the end time for any records retention requirement
   16                  and statute of limitations applicable to a party or a party’s counsel.
   17               (c) “Covered Entity or Entities” means “covered entity” as defined in 45
   18                  C.F.R. § 160.103.
   19               (d) “Discovery Material” is intended to be comprehensive and includes any
   20                  and all CMS produced materials, including documents, information,
   21                  electronically-stored information (ESI) and tangible things in the
   22                  broadest sense contemplated under Federal Rules of Civil Procedure 34,
   23                  and includes all written, oral, recorded, electronic, or graphic material,
   24                  however produced or reproduced, including, but not limited to all written
   25                  or printed matter of any kind, computer data of any kind, graphic or
   26                  manual records or representations of any kind, and electronic,
   27                  mechanical, or electric records furnished in the course of discovery under
   28                  this Protective Order by the signatories to this Protective Order, and other
                                                                          STIPULATED PROTECTIVE ORDER
        2307642.1                                    -2-                  CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 3 of 17 Page ID #:1603



    1                    persons or entities subject to this Protective Order, including deposition
    2                    testimony and exhibits, answers to interrogatories, and responses to
    3                    discovery requests and subpoenas issued under this Protective Order.
    4               (e) “Litigation” means the above-captioned case as well as all related
    5                    appellate proceedings.
    6               (f) “Parties” means any plaintiff and defendant in this action.
    7               (g) “Producing Party” means CMS or any CMS contractor or CMS agent
    8                    that produces Discovery Material pursuant to this Protective Order.
    9               (h) “Proprietary Information” means trade secret or other confidential
   10                    research, development, or commercial information entitled to protection
   11                    under Federal Rules of Civil Procedure 26(c)(1)(G).
   12               (i) “Protected Health Information” or “PHI” means “protected health
   13                    information” as defined in 45 C.F.R. § 160.103.
   14               (j) “Service Providers” means any court reporter service, videographer
   15                    service, translation service, photocopy service, document management
   16                    service, records management service, graphics service, or other such
   17                    litigation service designated by a party or a party’s legal counsel in this
   18                    case.
   19               2.     CONFIDENTIAL Information. Information designated as
   20   “CONFIDENTIAL” pursuant to this Protective Order (hereinafter
   21   “CONFIDENTIAL Information”) means Discovery Material that contains PHI and
   22   any Discovery Material that would be protected by the Privacy Act of 1974, 5
   23   U.S.C. § 552a, and/or 45 C.F.R. Part 5b in the hands of CMS.
   24               3.     HIGHLY CONFIDENTIAL Information. Information designated
   25   as “HIGHLY CONFIDENTIAL” pursuant to this Protective Order (hereinafter
   26   “HIGHLY CONFIDENTIAL Information”) means Discovery Material that
   27   contains Proprietary Information or Commercially Sensitive Information.
   28               4.     Designation of Material as CONFIDENTIAL. Upon producing
                                                                            STIPULATED PROTECTIVE ORDER
        2307642.1                                      -3-                  CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 4 of 17 Page ID #:1604



    1   Discovery Material to the Parties pursuant to a subpoena or other lawful process,
    2   the Producing Party should designate the Discovery Material as
    3   “CONFIDENTIAL.” The Producing Party shall, if practical, designate
    4   “CONFIDENTIAL” on every page of the Discovery Material in the same manner
    5   in which every page is Bates stamped. If it is not practical to designate
    6   “CONFIDENTIAL” on the Discovery Material, then the Producing Party shall
    7   designate the Discovery Material as “CONFIDENTIAL” in correspondence or in
    8   some other manner reasonably giving notice of the designation, including (but not
    9   limited to) affixing a label marked “CONFIDENTIAL” on the cover of or surface
   10   of any electronic media. It is practical to designate “CONFIDENTIAL” on every
   11   page of the Discovery Material if it is produced with a Bates stamp on every page.
   12   It is not practical to designate “CONFIDENTIAL” on every page of the Discovery
   13   Material if it is a spreadsheet or presentation file produced in native format (e.g.,
   14   Microsoft Excel, PowerPoint, or Access).
   15               5.   Designation of Material as HIGHLY CONFIDENTIAL. Upon
   16   producing Discovery Material containing Proprietary Information or Commercially
   17   Sensitive Information to the Parties pursuant to a subpoena or other lawful process,
   18   the Producing Party should designate the Discovery Material as “HIGHLY
   19   CONFIDENTIAL.” The Producing Party shall, if practical, designate “HIGHLY
   20   CONFIDENTIAL” on every page of the Discovery Material in the same manner in
   21   which every page is Bates stamped. If it is not practical to designate “HIGHLY
   22   CONFIDENTIAL” on the Discovery Material, then the Producing Party shall
   23   designate the Discovery Material as “HIGHLY CONFIDENTIAL” in
   24   correspondence or in some other manner reasonably giving notice of the
   25   designation, including (but not limited to) affixing a label marked “HIGHLY
   26   CONFIDENTIAL” on the cover of or surface of any electronic media. It is
   27   practical to designate “HIGHLY CONFIDENTIAL” on every page of the
   28   Discovery Material if it is produced with a Bates stamp on every page. It is not
                                                                      STIPULATED PROTECTIVE ORDER
        2307642.1                                -4-                  CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 5 of 17 Page ID #:1605



    1   practical to designate “HIGHLY CONFIDENTIAL” on every page of the
    2   Discovery Material if it is a spreadsheet or presentation file produced in native
    3   format (e.g., Microsoft Excel, PowerPoint, or Access).
    4               6.      Access to CONFIDENTIAL Information. As needed to pursue the
    5   Litigation, and subject to paragraph 8, the Parties shall permit only the following
    6   persons to have access to CONFIDENTIAL Information:
    7               (a) The Parties’ outside legal counsel and their employees and agents;
    8               (b) The Parties’ in-house legal counsel, employees, and agents;
    9               (c) Any Service Providers;
   10               (d) The Parties' experts and consultants and their employees and agents;
   11               (e) Individuals who any party or party’s legal counsel interviews or deposes;
   12               (f) The court and court-related personnel; and
   13               (g) Such other persons if this court so orders.
   14               7.      Access to HIGHLY CONFIDENTIAL Information. As needed to
   15   pursue the Litigation, and subject to paragraph 8, the Parties shall permit only the
   16   following persons to have access to HIGHLY CONFIDENTIAL Information:
   17               (a) The Parties’ outside legal counsel, and outside legal counsel’s employees
   18                    and agents;
   19               (b) Any Service Providers;
   20               (c) The Parties’ experts and consultants and their employees and agents;
   21               (d) Individuals who any party or party’s legal counsel interviews or deposes;
   22               (e) The court and court-related personnel; and
   23               (f) Such other persons if this court so orders.
   24               8.      Except for the individuals designated under paragraphs 6(f) and
   25   7(e). Except for the individuals designated under paragraphs 6(f) and 7(e), the
   26   Parties shall ensure that each individual designated in paragraphs 6 and 7 who
   27   reviews or is given access to Discovery Materials reads, agrees to, and signs a copy
   28   of the attached Acknowledgement of Protective Order, except that entry of this
                                                                         STIPULATED PROTECTIVE ORDER
        2307642.1                                     -5-                CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 6 of 17 Page ID #:1606



    1   Protective Order by the court will constitute Acknowledgement by the Parties and
    2   their legal counsel. Where an entity is designated in paragraphs 6 and 7, an officer
    3   or manager of the entity may sign the Acknowledgement of Protective Order on
    4   behalf of the entire entity. Each party’s legal counsel shall maintain the copy of the
    5   Acknowledgement of Protective Order as signed by each individual or entity
    6   designated in paragraphs 6 and 7 and shall permit the opposing party’s legal
    7   counsel and U.S. Department of Health and Human Services (HHS) Office of the
    8   General Counsel, CMS Division to inspect said copy or copies upon request.
    9   Individuals and entities designated in paragraphs 6 and 7, except for the individuals
   10   designated under paragraphs 6(f) and 7(e), who do not sign the attached
   11   Acknowledgement of Protective Order must not be given access to Discovery
   12   Materials.
   13               9.    Destruction of CONFIDENTIAL Information and HIGHLY
   14   CONFIDENTIAL Information at the Conclusion of the Litigation. No later
   15   than 90 days following the Conclusion of the Litigation, the Parties and the
   16   individuals and entities designated in paragraphs 6 and 7 shall destroy all
   17   CONFIDENTIAL Information and HIGHLY CONFIDENTIAL Information
   18   (including all copies made), except those designated under ¶¶ 6(f) and 7(e).
   19               All counsel of record shall certify compliance with paragraph 9 on behalf of
   20   themselves, the parties they represent, and the parties’ employees and agents
   21   (including, but not limited to, the individuals and entities designated in paragraphs
   22   6 and 7, as applicable) and shall deliver this certification to HHS Office of the
   23   General Counsel, CMS Division not more than 90 days after the Conclusion of the
   24   Litigation.
   25               10. Use of CONFIDENTIAL Information or HIGHLY
   26   CONFIDENTIAL Information in documents filed with the court. In the event
   27   any party wishes to use CONFIDENTIAL Information or HIGHLY
   28   CONFIDENTIAL Information in any affidavits, briefs, memoranda, exhibits,
                                                                         STIPULATED PROTECTIVE ORDER
        2307642.1                                    -6-                 CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 7 of 17 Page ID #:1607



    1   motions, or other papers filed in court in this action, such party shall take
    2   appropriate steps to safeguard CONFIDENTIAL Information or HIGHLY
    3   CONFIDENTIAL Information, including ensuring compliance with all applicable
    4   local rules and district court rules. Where the papers to be filed contain
    5   CONFIDENTIAL Information or HIGHLY CONFIDENTIAL Information not
    6   pertinent to the issue before the court, the Parties should redact such
    7   CONFIDENTIAL Information or HIGHLY CONFIDENTIAL Information. Where
    8   the filing party wishes the court to review the CONFIDENTIAL Information or
    9   HIGHLY CONFIDENTIAL Information filed with the court, and all portions of
   10   pleadings, motions or other papers filed with the court that disclose such
   11   CONFIDENTIAL Information or HIGHLY CONFIDENTIAL Information, the
   12   filing party must apply for permission to make the filing under seal. The Parties
   13   will use their best efforts to minimize such sealing applications.
   14               Paragraphs 11-14 - Terms Specific to PHI.
   15               11. Pursuant to 45 C.F.R. § 164.512(e)(1) and for purposes of compliance
   16   with the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”),
   17   the Parties’ legal counsel in this case, the employees and agents of each party, and
   18   all non-party Covered Entities are expressly and specifically authorized to use or
   19   disclose PHI in accordance with this order to:
   20               (a) Respond to interrogatories, requests for admission, or requests for
   21                  production of documents, including ESI, served pursuant to the Federal
   22                  Rules of Civil Procedure in this case seeking PHI;
   23               (b) Request interviews or depositions and interview, depose, or respond in
   24                  interviews or depositions in which PHI might be disclosed;
   25               (c) Prepare briefs and other materials for the court so long as such materials
   26                  are treated in accordance with paragraph 10 of this Protective Order; and
   27               (d) Disclose PHI to a party’s expert regardless of whether the expert is a
   28                  consulting or testifying expert.
                                                                          STIPULATED PROTECTIVE ORDER
        2307642.1                                     -7-                 CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 8 of 17 Page ID #:1608



    1               12. Pursuant to 45 C.F.R. § 164.512(e)(1) and for purposes of HIPAA
    2   compliance, each deponent noticed for deposition in this case, including but not
    3   limited to a party, a fact witness, a records custodian, an expert, or a Covered Entity
    4   of any type, is expressly and specifically authorized to use or to disclose to the
    5   Parties’ legal counsel in this case and the employees and agents of each party and
    6   each party’s legal counsel in this case, the PHI that is responsive to deposition
    7   questions or a valid subpoena duces tecum.
    8               13. Pursuant to 45 C.F.R. § 164.512(e)(1) and for purposes of HIPAA
    9   compliance, any person or entity authorized or ordered under paragraphs 11 or 12
   10   above to use or disclose PHI is expressly and specifically authorized to do so with,
   11   to, or before any Service Providers designated by a party or a party’s legal counsel
   12   in this case. The protections and requirements of paragraphs 16 and 19 of this
   13   Protective Order must be imposed on Service Providers as a condition of any
   14   Service Provider’s receipt of PHI. Each party or the party’s legal counsel is
   15   charged with obtaining advance consent of such Service Provider to comply with
   16   this paragraph. Upon such consent, the Service Provider will be deemed to have
   17   voluntarily submitted to this court’s jurisdiction during the pendency of this case
   18   for purposes of enforcement of this paragraph, including but not limited to the
   19   imposition of such sanctions as may be appropriate for any non-compliance.
   20               14. The intent of this Protective Order is to authorize the use and disclosure
   21   of PHI in accordance with 45 C.F.R. § 164.512(e) and the terms of this Protective
   22   Order. To the extent that the uses and disclosures of PHI authorized under this
   23   Protective Order may be permitted under other provisions of the HIPAA Privacy
   24   Rule, such uses and disclosures are made pursuant to and in accordance with 45
   25   C.F.R. § 164.512(e). This paragraph does not apply to uses and disclosures of PHI
   26   that are not authorized under this Protective Order.
   27               15. Terms Specific to Proprietary Information and Commercially
   28   Sensitive Information. For Discovery Materials containing Proprietary
                                                                          STIPULATED PROTECTIVE ORDER
        2307642.1                                     -8-                 CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 9 of 17 Page ID #:1609



    1   Information or Commercially Sensitive Information designated as HIGHLY
    2   CONFIDENTIAL, the Producing Party’s production of HIGHLY
    3   CONFIDENTIAL Information in this case is not to be construed as waiving or
    4   diminishing the Producing Party’s interests in and rights to the confidentiality of
    5   Proprietary Information or Commercially Sensitive Information, unless otherwise
    6   ordered by the court.
    7               16. Discovery Material may not be disclosed or used by any party or any
    8   individual or entity designated in paragraphs 6 or 7 for any purpose other than the
    9   Litigation. The obligations of the court and court-related personnel are established
   10   by the Local Rules, not this Order.
   11               17. Subject to paragraphs 19 and 16, all CONFIDENTIAL Information and
   12   HIGHLY CONFIDENTIAL Information produced, transmitted, or otherwise
   13   received electronically must be maintained in a reasonably secure manner and
   14   guarded against re-disclosure for the life of the record.
   15               18. Inadvertent production by the Producing Party. If at any time prior to
   16   the trial of this action, the Producing Party realizes that:
   17               (a) Some portion(s) of Discovery Material was produced without a
   18                  designation of CONFIDENTIAL or HIGHLY CONFIDENTIAL, the
   19                  Producing Party may add either designation to those Discovery Materials
   20                  without limitation by apprising the Parties in writing of such designation.
   21                  Such Discovery Material will thereafter be treated as CONFIDENTIAL
   22                  Information or HIGHLY CONFIDENTIAL Information under the terms
   23                  of this Protective Order. Any failure of the Producing Party to designate
   24                  Discovery Material as CONFIDENTIAL or HIGHLY CONFIDENTIAL
   25                  does not constitute a waiver of any claim of privilege or work product
   26                  protection with respect to the Discovery Material.
   27               (b) If Discovery Materials subject to a claim of attorney-client privilege or
   28                  attorney work product protection (“Inadvertently Disclosed Information”)
                                                                            STIPULATED PROTECTIVE ORDER
        2307642.1                                     -9-                   CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 10 of 17 Page ID
                                 #:1610


 1               were inadvertently produced, the Producing Party will be entitled to
 2               “clawback” this Inadvertently Disclosed Information and to have all
 3               copies of it either returned to the Producing Party or destroyed. If the
 4               Producing Party seeks to clawback Inadvertently Disclosed Information, it
 5               is entitled to do so, regardless of the Producing Party’s diligence in
 6               initially attempting to prevent such an inadvertent disclosure. To the
 7               extent possible, the Producing Party will clawback only the portions of
 8               Discovery Materials containing information subject to a claim of attorney-
 9               client privilege or attorney work product protection. Any Inadvertent
10               Disclosure by the Producing Party does not constitute and may not be
11               deemed a waiver or forfeiture of any claim of privilege or work product
12               protection with respect to the Inadvertently Disclosed Information itself
13               and/or its subject matter with respect to this Litigation or in any other
14               federal, state, or local proceeding, regardless of the Producing Party’s
15               diligence in initially attempting to prevent such disclosure. If the
16               Producing Party makes a claim of inadvertent disclosure, the Parties shall,
17               within five business days, return or destroy all copies of the Inadvertently
18               Disclosed Information, and provide a certification of counsel that all such
19               information has been returned or destroyed. Within five business days of
20               the notification that such Inadvertently Disclosed Information has been
21               returned or destroyed, the Producing Party shall produce a privilege log
22               with respect to the Inadvertently Disclosed Information. The Parties may
23               move the court for an order compelling production of the Inadvertently
24               Disclosed Information. The motion must be filed under seal, and may not
25               assert as a ground for entering such an order the fact or circumstances of
26               the inadvertent production. The Producing Party retains the burden of
27               establishing the privileged or protected nature of any Inadvertently
28               Disclosed Information contained in Discovery Materials. Nothing in this
                                                                     STIPULATED PROTECTIVE ORDER
     2307642.1                                 - 10 -                CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 11 of 17 Page ID
                                 #:1611


 1                  Protective Order limits the right of any party to request an in camera
 2                  review of the Inadvertently Disclosed Information.
 3               19. Inadvertent production or re-disclosure by a party or an individual
 4   or entity designated in paragraphs 6 or 7. If a party or an individual or entity
 5   designated in paragraphs 6 or 7 (the “Responsible Party”) produces or discloses
 6   Discovery Material designated as CONFIDENTIAL Information or HIGHLY
 7   CONFIDENTIAL Information to a person or entity not authorized to receive such
 8   disclosure under this Protective Order, such Responsible Party shall, upon
 9   becoming aware of such disclosure, immediately inform the Producing Party. The
10   Responsible Party also shall take all reasonable measures to cure the improper
11   disclosure and to promptly ensure that no further or greater unauthorized disclosure
12   of the Discovery Material designated as CONFIDENTIAL Information or HIGHLY
13   CONFIDENTIAL Information. This paragraph does not apply to the court or
14   court-related personnel.
15               Miscellaneous Provisions
16               20. Any and all Medicare Part B and/or Medicare Part A claims data
17   produced by the Producing Party in this action is considered CONFIDENTIAL
18   Information and/or HIGHLY CONFIDENTIAL Information (depending on which
19   data fields are included or excluded) as that term is used throughout this Protective
20   Order.
21               21. Pursuant to 5 U.S.C. § 552a(b)(11), this Protective Order authorizes CMS
22   to release Privacy Act-protected information covered by this Protective Order,
23   without the consent of the subject individual.
24               22. The production of any Discovery Material by CMS in the course of this
25   action, pursuant to and in compliance with the terms of this Protective Order, which
26   might otherwise be prohibited by the Trade Secrets Act, 18 U.S.C. § 1905,
27   constitutes a disclosure “authorized by law” under the terms of the Act.
28               23. Should any party bound by this Protective Order receive a subpoena, civil
                                                                       STIPULATED PROTECTIVE ORDER
     2307642.1                                   - 11 -                CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 12 of 17 Page ID
                                 #:1612


 1   investigative demand, or other process from a third party seeking, requesting, or
 2   requiring disclosure of Discovery Materials produced in this Litigation designated
 3   as CONFIDENTIAL Information or HIGHLY CONFIDENTIAL Information, such
 4   person shall give notice to HHS Office of the General Counsel, CMS Division so
 5   that CMS may seek appropriate relief, if any. Notice must be made by the sooner
 6   date of ten days from the date the party received the request for production or seven
 7   days prior to the deadline for responding to the request for production, and must be
 8   in writing.
 9               24. Notwithstanding any provisions of this Protective Order to the contrary,
10   in accordance with any applicable federal, state, or local laws that afford heightened
11   protection to certain categories of confidential health information, including but not
12   limited to, records or diagnosis or treatment for alcohol or substance abuse, certain
13   sexually transmitted diseases such as HIV/AIDS, mental health, and research
14   pertaining to genetic testing, the party in receipt of such information shall comply
15   with the applicable federal, state, or local law that affords heightened protection to
16   such information.
17               25. Nothing in this Protective Order affects the rights of the Parties,
18   Producing Party, or third-parties to object to discovery on grounds other than those
19   related to the protection of CONFIDENTIAL Information or HIGHLY
20   CONFIDENTIAL Information, nor does it preclude any party or third-party from
21   seeking further relief or protective orders from this court as may be appropriate
22   under the Federal Rules of Civil Procedure.
23               26. Any person requiring further protection of CONFIDENTIAL Information
24   or HIGHLY CONFIDENTIAL Information may petition this court for a separate
25   order governing the disclosure of its information.
26               27. The provisions of this Protective Order survive the Conclusion of this
27   Litigation.
28               28. This court retains jurisdiction over all persons subject to this Protective
                                                                         STIPULATED PROTECTIVE ORDER
     2307642.1                                     - 12 -                CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 13 of 17 Page ID
                                 #:1613


 1   Order to the extent necessary to enforce any obligations arising hereunder or to
 2   impose sanctions for any contempt therefore.
 3               29. This Protective Order does not dictate the use of CONFIDENTIAL
 4   Information or HIGHLY CONFIDENTIAL designated information by a party at
 5   trial. Such use must be determined by appropriate order of the court.
 6               30. To the extent that inconsistences exist between this Protective Order and
 7   any CMS Data Use Agreement executed by the party in receipt of applicable
 8   Discovery Materials, the provisions of this Protective Order control.
 9               31. This Protective Order may be amended for good cause shown.
10               32. This Protective Order for Production by non-party CMS is intended
11   solely to supplement the existing Protective Order in the case. It governs only
12   Discovery Materials produced by the Producing Party as defined in this Protective
13   Order.
14
15               SO STIPULATED AND AGREED.
16   Dated: October 8, 2021                Respectfully submitted,
17
                                           LIEFF CABRASER HEIMANN &
18                                         BERNSTEIN, LLP
19
                                           By: /s/ Nimish R. Desai
20
21                                         Nimish R. Desai (State Bar No. 244953)
                                           ndesai@lchb.com
22                                         Robert J. Nelson (State Bar No. 132797)
                                           rnelson@lchb.com
23                                         LIEFF CABRASER HEIMANN &
                                           BERNSTEIN, LLP
24                                         275 Battery Street, 29th Floor
                                           San Francisco, CA 94111-3339
25                                         Telephone: 415.956.1000
                                           Facsimile: 415.956.1008
26                                         Rachel Geman (admitted pro hac vice)
27                                         rgeman@lchb.com
                                           Katherine McBride
28                                         kmcbride@lchb.com
                                           LIEFF CABRASER HEIMANN &
                                                                      STIPULATED PROTECTIVE ORDER
     2307642.1                                   - 13 -               CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 14 of 17 Page ID
                                 #:1614


 1                                 BERNSTEIN, LLP
                                   250 Hudson Street, 8th Floor
 2                                 New York, NY 10013-1413
                                   Telephone: 212-355-9500
 3                                 Facsimile: 212-355-9592
 4                                 Attorneys for Relator
 5                                 Rhonda R. Trotter (State Bar No. 169241)
                                   rhonda.trotter@arnoldporter.com
 6                                 ARNOLD & PORTER KAYE SCHOLER LLP
                                   777 South Figueroa Street, 44th Floor
 7                                 Los Angeles, CA 90017
                                   Telephone: (213) 243-4000
 8                                 Facsimile: (213) 243-4199
 9                                 Michael A. Rogoff (admitted pro hac vice)
                                   michael.rogoff@arnoldporter.com
10                                 Paula R. Ramer (admitted pro hac vice)
                                   paula.ramer@arnoldporter.com
11                                 ARNOLD & PORTER KAYE SCHOLER LLP
                                   250 West 55th Street
12                                 New York, NY 10019
                                   Telephone: (212) 836-8000
13                                 Facsimile: (212) 836-8689
14                                 Jeffrey L. Handwerker (admitted pro hac vice)
                                   jeffrey.handwerker@arnoldporter.com
15                                 Christian D. Sheehan (admitted pro hac vice)
                                   christian.sheehan@arnoldporter.com
16                                 ARNOLD & PORTER KAYE
                                       SCHOLER LLP
17                                 601 Massachusetts Avenue, NW
                                   Washington, DC 20001
18                                 Telephone: (202) 942-5000
                                   Facsimile: (202) 942-5999
19
                                   Attorneys for Defendant Allergan, Inc.
20
21   IT IS SO ORDERED.
22
23   DATED: October 13, 2021
24
25                                      Hon. Karen E. Scott
                                        United States Magistrate Judge
26
27
28
                                                             STIPULATED PROTECTIVE ORDER
     2307642.1                          - 14 -               CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 15 of 17 Page ID
                                 #:1615


 1                             UNITED STATES DISTRICT COURT
 2                            CENTRAL DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES ex rel.                        Case No. 8:18-CV-00203-JVS (KESx)
     TERRENCE BARRETT, and on
 5   behalf of various States,                    EXHIBIT A:
                                                  ACKNOWLEDGEMENT OF
 6                       Plaintiff,               PROTECTIVE ORDER
 7   v.                                           Judge:    Hon. James V. Selna
 8   ALLERGAN, INC.,
 9                       Defendant.
10
11               I, ________________________, [in my individual capacity] OR [as
12   _______________ (title) of _______________ (entity name), on behalf of
13   _______________ (entity name)], acknowledge that I have read, understand and
14   agree to be bound by the Stipulated Protective Order for Production by non-party
15   the Centers for Medicare & Medicaid Services (CMS) (the “Protective Order”) in
16   this action governing the non-disclosure of those portions of Discovery Material
17   that have been designated as CONFIDENTIAL Information and/or HIGHLY
18   CONFIDENTIAL Information. I agree that I will disclose such CONFIDENTIAL
19   Information or HIGHLY CONFIDENTIAL Information only as expressly
20   permitted by this Protective Order and only for purposes of the Litigation (as
21   defined in the Protective Order), that I will not use, or cause to be used, the
22   CONFIDENTIAL Information or HIGHLY CONFIDENTIAL Information for the
23   commercial or competitive benefit of any party or competitor to any party in this
24   Litigation, and that I will take all reasonable measures to protect the confidentiality
25   of all such Discovery Material. No later than 90 days following the Conclusion of
26   the Litigation, I will destroy or return to HHS Office of the General Counsel, CMS
27   Division all CONFIDENTIAL Information and HIGHLY CONFIDENTIAL
28   Information in my possession (including all copies made). If I am counsel of record

                                                                   STIPULATED PROTECTIVE ORDER
     2307642.1                                 - 15 -              CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 16 of 17 Page ID
                                 #:1616


 1   in the Litigation, I will certify compliance with paragraph 9 of the Protective Order
 2   and deliver this certification to HHS Office of the General Counsel, CMS Division
 3   not more than 90 days after the Conclusion of the Litigation.
 4               By acknowledging these obligations under the Protective Order, I understand
 5   that I am submitting myself to the jurisdiction of the United States District Court
 6   for the Central District of California for the purpose of any issue or dispute arising
 7   hereunder and that my willful violation of any term of the Protective Order could
 8   subject me to punishment for contempt of court.
 9
10   Signature:                                          Dated:
11   Name (Printed):
12   Address:
13   Telephone No.:
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                    STIPULATED PROTECTIVE ORDER
     2307642.1                                  - 16 -              CASE NO. 8:18-CV-00203-JVS (KESX)
Case 8:18-cv-00203-JVS-KES Document 128 Filed 10/13/21 Page 17 of 17 Page ID
                                 #:1617


 1                                          ATTESTATION
 2
                 Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), the filer of this document attests
 3
     that concurrence in the filing of this document has been obtained from the other
 4
     signatories above.
 5
 6
     Dated: October 8, 2021                       /s/ Nimish R. Desai
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                        STIPULATED PROTECTIVE ORDER
     2307642.1                                    - 17 -                CASE NO. 8:18-CV-00203-JVS (KESX)
